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 6   Attorney for Defendant,
     TANEKA NUNLEY
 7

 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         CASE NO. 08-65-LKK
11

12
                 Plaintiff,                            STIPULATION AND ORDER

13        vs.                                          DATE: May 6, 2008
                                                       TIME: 9:30 AM
14   TANEKA NUNLEY,                                    JUDGE: Hon. Lawrence Karlton

15               Defendant.

16

17          It is hereby stipulated and agreed to between the United States of America through Anne
18   Pings, Assistant U.S. Attorney, and defendant Taneka Raenee Nunley, by and through her
19
     attorney, Dan Koukol, that the status conference of May 6, 2008 be vacated and that a status
20
     conference be set for June 10, 2008 at 9:30 AM.
21
            This continuance is being requested because the parties need additional time to discuss
22
     the case with the government and negotiate plea agreements.
23
            //
24
            //
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26
            //

27          //

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 1          The parties request that the speedy trial time is excluded from the date of this order

 2   through the date of the status conference set for June 10, 2008 at 9:30 AM pursuant to 18 U.S.C.
 3
     § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
 4

 5
     DATED: MAY 1, 2008                          Respectfully submitted,
 6

 7                                       /s/ DAN KOUKOL
                                         _________________________________
 8                                       DAN KOUKOL
                                         Attorney for defendant Taneka Nunley
 9

10

11   DATED: MAY 1, 2008                          Respectfully submitted,

12
                                         /s/ DAN KOUKOL FOR
13                                       _________________________________
                                         Anne Pings
14                                       Assistant U.S. Attorney
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     IT IS SO ORDERED
16
     DATED: May 5, 2008
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